BEFORE RAYMOND J. DEARIE
UNITED STATES DISTRICT JUDGE

                    CRIMINAL CAUSE FOR STATUS CONFERENCE

                                      APRIL 26.2019
                               Time in Court:    15 MINUTES


DOCKET NUMBER: CR1M39(RJD)

U.S.A. -V-   LAMONT BROWN(On Bond)
             COUNSEL: GARY FARRELL(CJA)
U.S.A. -V-   ADAM MICEK(On Bond)
             COUNSEL: MITCHELL ELMAN(RETAINED)
U.S.A. -V-   KEVIN NELSON(On Bond)
             COUNSEL: NOAM BIALE(CJA)
U.S.A. -V-   ANDRE WILBURN(On Bond)
             COUNSEL: SAMUEL JACOBSON for James Darrow(LAS)

AUSA:        VIRGINIA NGUYEN
PRE TRIAL OFFICER: AMANDA CARLSON

COURT REPORTER: ANTHONY FRISOLONE

X     CASE CALLED FOR STATUS CONFERENCE.
      DISCUSSION HELD.
      ALL COUNSEL AGREE TO HAVE CASE DESIGNATED AS COMPLEX IN LIGHT
      OF VOLUMINOUS DISCOVERY.
      TIME EXCLUDED FROM TODAY THROUGH 7/26/2019.
        AS TO DEFENDANT ADAM MICEK(#2): DISCUSSION HELD REGARDING
      PRETRIAL SERVICES MEMORANDUM DATED 4/25/2019, CONDITIONS
      OF RELEASED MODIFIED AS FOLLOWS:''The defendant is not to possess
      any internet capable devices exceptfor one authorized cellular telephone, to he
      monitored by Pretrial Servicesfor the duration ofthis case; and that the defendant
      pay the cost ofcomputer monitoring based on his ability to pay as determined by
      Pretrial Services".
      MITCHELL ELMAN REQUESTS THAT HIS CLIENT BE CONSIDERED
      FOR PLACEMENT IN THE P.O.P. PROGRAM.
      CASE ADJOURNED TO 7/26/2019 AT 10:30AM FOR ALL DEFENDANTS.
